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  AO 245C         (Rev. 09/11) Amended Judgment in a Criminal Case
                                                                                                                            (NOTE: Identify Changes with Asterisks (*))
  vi              Sheet I

                                             UNITED STATES DISTRICT COURT
                                                           MIDDLE DISTRICT OF ALABAMA
            UNITED STATES OF AMERICA                                                   AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                                         (WO)
                       V.
              BRADFORD LAMAR DALEY                                                     Case Number: 3:13cr105-01-WKW
                                                                                       USM Number: 14756-002
Date of Original Judgment: 4/15/2015                                                   Jeffery Duffey
(Or Date oF Last Amended Judgment)                                                     Defendant's Attorney
Reason for Amendment:
LI Correction of Sentence on Remand (18 U.S.C. 3742(0(1) and (2))                      LI Modification of Supervision Conditions (18 U.S.C. § 3563(e) or 3583(e))
LI Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                      LI Modification of imposed Term of imprisonment for Extraordinary and
   P. 35(b))                                                                              Compelling Reasons (18 U.S.C. § 3582(e)(I))
LI Correction of Sentence by Sentencing Court (Fed. R. Crim, P, 35(a))                 LI Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
LI Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                      to the Sentencing Guidelines (18 U.S.C. § 3582(e)(2))

                                                                                       LI Direct Motion to District Court Pursuant LI 28 U.S.C. § 2255 or
                                                                                          LI 18 U.S.C. § 3559(c)(7)
                                                                                          Modification of Restitution Order (18 U.S.C. § 3664)
T tIE DEFENDANT:
    pleaded guilty to count(s)           1 and 23 of the Indictment on 01/14/2014
LI pleaded nolo contendere to count(s)
   which was accepted by the court.
LI was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                                  Offense Ended                         Count
 18:1349                              Conspiracy to Commit Mail Fraud and Wire Fraud                                     02/28/2011                           1
 26:7206(1)                           Tax Fraud                                                                          0212812011                           23




 LI See additional count(s) on page 2
      The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

LI The defendant has been found not guilty on count(s)
LI Count(s)                                                     LI is    LI are dismissed on the motion of the United States.
         It is ordered that the defendant trust notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessITnts imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                04/9/2015
                                                                                Date of InipoiIioii of JudgmenL




                                                                                                                              .. . . . . ............
                                                                                Signature of Judge

                                                                                W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                                Name ofitidge                                                Title of Judge



                                                                                Date
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AO 245C         (Rev. 09/11) Amended Judgment in a Criminal Case
vi              Sheet 2   I mprisonn:enl

                                                                                                                      Judgment Page: 2 of 7
     DEFENDANT: BRADFORD LAMAR DALEY
     CASE NUMBER: 3:13cr105-01-WKW


                                                                   IMPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:
      121 Months. This term consists of 121 months as to count 1 and 36 months as to count 23 to run concurrently.




            The court makes the following recommendations to the Bureau of Prisons:

     The Court recommends that defendant be designated to a facility where alcohol treatment is available.




            The defendant is remanded to the custody of the United States Marshal.

        E The defendant shall surrender to the United States Marshal for this district:
             E at ______________________                     a.m. fl p.m. on

             El as notified by the United States Marshal.

        E The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             E before                      on

             El as notified by the United States Marshal.

             El as notified by the Probation or Pretrial Services Office.



                                                                        RETURN
     I have executed this judgment as follows:




             Defendant delivered on                                                            to

     a                                                    , with a certified copy of this judgment.



                                                                                                         UNITED STATES MARSHAL



                                                                                By -.
                                                                                                      DEPUTY UNITED STATES MARSHAL
                       Case 3:13-cr-00105-WKW-CSC Document 161 Filed 12/15/15 Page 3 of 7

AU 245C               (Rev. 091I1) Amended Judgment in a Criminal Case
V1                    Sheet 3—Supervised Release


 DEFENDANT: BRADFORD LAMAR DALEY                                                                                                 Judgment Page: 3 of 7
 CASE NUMBER: 3:13cr105-01-WKW
                                                                   SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 3 Years. This term consists of 3 years on Count 1 and 1 year on Count 23 to run concurrently.


          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within IS days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
               The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
               future substance abuse. (Check. f applicable.)

               The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, ([applicable.)
               The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. ([applicable.)

               The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 El as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
               works, is a student, or was convicted of a qualifying offense. (Check, f applicable.)

     LI        The defendant shall participate in an approved program for domestic violence. (Check, ([applicable.)
             If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
     Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that hwe been adopted by this court as well as with any additional conditions
 on the attached page.

                                                STANDARD CONDITIONS OF SUPERVISION
          1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
          2)     the defendant shall report to the probation officer in a manner and frequency directed by the court and the probation officer;
          3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
          4)     the defendant shall support his or her dependents and meet other family responsibilities;
          5)     the defendant shall work regularly at a Lawful occupation, unless excused by the probation officer for schooling, training, or other
                 acceptable reasons;
          6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
          7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
                controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
           ) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
          9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
                felony, unless granted permission to do so -by the probation officer;
      10)       the defendant shall permit a probation officer to visit himor her at any time at home or elsewhere and shall permit confiscation of any
                contraband observed in plain view of the probation officer;
      II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcenent officer;
      12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
                permission of the court; and

      13)       as directed by the probation officer, the defendant shall noti third partiesof risks that may be occasioned by the defendant's criminal
                record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
                defendant s compliance with such notification requirement.
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AO 215C        (Rev. 09/11) Arnendad Judgment in a Criminal Case
vi             Sheet 3C - Supervised Release

                                                                                                            Judgment Page: 4 of 7
 DEFENDANT: BRADFORD LAMAR DALEY
 CASE NUMBER: 3:13cr105-01-WKW

                                            SPECIAL CONDITIONS OF SUPERVISION


     Defendant shall attend and successfully complete an alcohol treatment program approved by the U.S. Probation Office.

     Defendant shall provide the probation officer any requested financial information.

     Defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.
                   Case 3:13-cr-00105-WKW-CSC Document 161 Filed 12/15/15 Page 5 of 7

A0 245C          (Rev. 09/11) Amended Judgment in a Criminal Case
vI               Sheet 5— Criminal Monetary Penalties

                                                                                                                            Judgment Page: 5 of 7
     DEFENDANT: BRADFORD LAMAR DALEY
     CASE NUMBER: 3:13cr105-01-WKW
                                                  CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Shect 6.

                         Assessment                                               Fine                            Restitution
 TOTALS               S 200.00                                                $                                 $ 0.00


     LI The determination of restitution is deferred until                        . An Amended Judgment in a Criminal Case (AO 245C) will be entered
         after such determination.

         The defendant must make restitution (including community restitution) to the following payees in the amount listed below.




 Name of Payee                                                            Total Loss*                 Restitution Ordered Priorit y or Pereentae

      () SEE ATTACHED EXHIBIT A




 TOTALS                                                                                       $0.00                 $0.00


          Restitution amount ordered pursuant to the Restitution Agreement $1,253,406.67

          The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 15 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 LI       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          LI the interest requirement is waived for the             LI tine       LI restitution.

          LI the interest requirement for the           LI fine       LI restitution is modified as follows:



  Findings for the total anDunt of losses are required under Chailers 109A, 110, 1 IOA, and 113A of Title 15 foroffenses committed on or after
 September 13, 1994, but before April 23, 1996.
                Case 3:13-cr-00105-WKW-CSC Document 161 Filed 12/15/15 Page 6 of 7

AU 245C        (Rev, 09/11) Amended Judgment in a Criminal Case
VI             Sheet 5A - Criminal Monetary Penalues

                                                                                                             Judgment Page: 6 of 7
DEFENDANT: BRADFORD LAMAR DALEY
CASE NUMBER: 3:13cr105-01-WKW

                                            ADDITIONAL TERMS FOR RESTITUTION

          At the restitution hearing held on June 25, 2015, the United States flied an executed restitution agreement between it
     and Defendant Bradford Lamar Daley, as well as a list of all known victims to date and an accounting of losses to each
     victim. Based upon the restitution proceedings, it is ORDERED as follows.

          Defendant Bradford Lamar Daley shall make restitution in the amount of $339,099.67 to all of the individual victims
     Listed in Exhibit A, which is attached to this amended judgment. Defendant Bradford Lamar Daley also shall make
     restitution in the amount of $914,343.00 to the Internal Revenue Service, but pursuant to 18 U.S.C. § 3664(i), all of the
     nonfederal, individual victims shall be paid before the Internal Revenue Service is paid. Defendant Bradford Lamar Daley
     is reminded that he remains under a continuing obligation to notify the court and the Attorney General of any material
     change in his economic circumstances that may affect his ability to pay restitution. See 18 U.S.C. § 3664(k).

         Defendant Bradford Lamar Daley shall be responsible for the total amount of restitution, but that liability shall be shared
     jointly and severally with Defendant Terril Yarham for an apportioned restitution amount to be determined by the court at a
     subsequent hearing. Each victim is not entitled to compensation in excess of his, her, or its losses, and, therefore, the
     victim is entitled to only one recovery, from whomever the recovery is received.

         It is further ORDERED that any victims who are not listed on Exhibit A shall have ninety days from the date of this Order
     to petition the court for a determination of their losses. Such petition shall be granted only upon a showing of good cause
     for the failure of the victim to report losses prior to or at the June 25, 2015 hearing.

          It is further ORDERED that, at the appropriate time upon receipt of the funds or notification from the United States
     Attorney's Office, the Clerk of the Court shall disburse the restitution payments to each victim in the amounts determined in
     this amended judgment.
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AU 245C       (Rev. 09/11) Amended Judgment in a Criminal Case
vi            Sheet 6—Schedule of Payments

                                                                                                                            )udgment Page: 7 o17
 DEFENDANT: BRADFORD LAMAR DALEY
 CASE NUMBER: 3:13cr105-01-WKW


                                                       SCHEDULE OF PAYMENTS


 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A V Lump sum payment of S 200.00                                due immediately, balance due

                  not later than                                    , or
            l( in accordance                  C, Li D, U              E, or V F below; or

 B Li Payment to begin immediately (may he combined with                    Li C,        LI D, or Li F below); or

 C    Li Payment in equal                            (e.g., weekly, monthly, quarterly) installments of                             over a period of
                           (e.g., months or years), to commence                       (e.g, 30 or 60 days) after the date of this judgment; or

 D    Li Payment in equal                         (e.g., weekly, monthly, quarterly) installments of S                         over a period of
                        (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

 E    Li Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability 10 pay at that time; or

 F    W Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101.

            () SEE PAGE 6 FOR ADDITIONAL RESTITUTION TERMS


 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment. paynnt of criminal monetary penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 N( Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, it appropriate.

       () SEE PAGE 6 FOR TERMS FOR JOINT AND SEVERAL RESTITUTION




 Li The defendant shall pay the cost of prosecution.

 Li The defendant shall pay the following court cost(s):

 Li The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
